                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                  5:05CR04-4

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                          ORDER
                                    )
HUSKINS, et al,                     )
            Defendants.             )
___________________________________ )

       THIS MATTER is before the Court on Charles Douglas Hughes’s (“Hughes”) Letter seeking

clarification of his restitution payment schedule. (Document #174). As part of the judgment against

the defendants in this case, this Court held each of the co-defendants jointly and severally liable for

restitution in the amount of $15,641.01. Six of the seven co-defendants were held responsible for

the full amount, while the remaining co-defendant was jointly and severally liable only for the amount

up to $3,647.89. In his letter, Hughes requests that this Court issue an Order amending the

judgments in this case to hold each of the seven co-defendants individually liable for one-seventh of

the total restitution owed.

       A sentence that imposes an order of restitution is a final judgment that can only be modified

in certain narrowly prescribed instances, such as a material change in economic circumstances or the

incorrect calculation of restitution at the time of sentencing. 18 U.S.C. § 3664(o). Hughes situation

does not fall within any of these narrow exceptions.1 Thus, this Court is unable to find a reason for

altering the judgments in this case.




       1
        Hughes’s chief complaint is that payment by the each of the defendants up to this point
has not been uniform.


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  WHEREFORE, Hughes’s request to amend the restitution payment schedule is DENIED.



                                      Signed: October 16, 2008




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